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12                        UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA
14

15   IN RE: NATIONAL FOOTBALL                  Case No. 2:15-ml-02668-PSG (SKx)
     LEAGUE’S “SUNDAY TICKET”
16   ANTITRUST LITIGATION
                                               PLAINTIFFS’ NOTICE OF
17   THIS DOCUMENT RELATES TO                  MOTION AND MOTION FOR
     ALL ACTIONS                               JUDGMENT AS A MATTER OF
18                                             LAW
19                                             JUDGE: Hon. Philip S. Gutierrez
                                               DATE: June 5, 2024
20                                             COURTROOM:
                                                First Street Courthouse
21                                              350 West 1st Street
                                                Courtroom 6A
22                                              Los Angeles, CA 90012
23

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 1   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 2         PLEASE TAKE NOTE THAT on June 25, 2024 at 1:30 p.m., before the
 3   Honorable Philip S. Gutierrez, Chief United States District Judge, Courtroom 6A,
 4   United States Courthouse, 350 West 1st Street, Los Angeles, CA 90012, Plaintiffs
 5   will, and hereby do, move the Court for an order granting Plaintiffs’ Motion for
 6   Judgment as a Matter of Law.
 7         This motion is based on this notice and supporting memorandum of points and
 8   authorities and the other records, papers, and orders in this action, as well as such
 9   additional evidence and arguments as may be presented by the parties before or at
10   the hearing.
11

12   Dated: June 24, 2024                  Respectfully submitted,
13

14                                         By: /s/ Marc. M. Seltzer

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13                        UNITED STATES DISTRICT COURT

14                      CENTRAL DISTRICT OF CALIFORNIA

15   IN RE: NATIONAL FOOTBALL                  Case No. 2:15-ml-02668-PSG (SKx)
     LEAGUE’S “SUNDAY TICKET”
16   ANTITRUST LITIGATION                      PLAINTIFFS’ MEMORANDUM IN
                                               SUPPORT OF MOTION FOR
17   THIS DOCUMENT RELATES TO                  JUDGMENT AS A MATTER OF
     ALL ACTIONS                               LAW
18
                                               JUDGE: Hon. Philip S. Gutierrez
19                                             TRIAL DATE: June 5, 2024
                                               COURTROOM:
20                                              First Street Courthouse
                                                350 West 1st Street
21                                              Courtroom 6A
                                                Los Angeles, CA 90012
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 1   I.    INTRODUCTION
 2         Plaintiffs move for judgment as a matter of law pursuant to Federal Rule of
 3   Civil Procedure 50(a).
 4         Plaintiffs move, first, for a determination as a matter of law that they have met
 5   their initial burden of establishing a substantial anticompetitive effect stemming from
 6   the challenged restraints. Plaintiffs have met this burden in three distinct and
 7   independently sufficient ways: (1) by showing that the restraints at issue are “naked
 8   restraints,” i.e., an actual integrated web of agreements to reduce output and raise
 9   prices, (2) by showing the restraints caused substantial detrimental effects on
10   competition such as reduced output and increased prices, and (3) by showing the
11   Defendants’ market power in the market for professional football telecasts coupled
12   with “some evidence” the challenged restraints harmed competition. Defendants
13   contest this as a matter of argument, but not as a matter of substance. Trial testimony
14   confirmed that the very purpose of the restraints was to limit horizontal competition
15   between the NFL teams and between CBS, Fox, and DirecTV.
16         Second, Plaintiffs move for a determination as a matter of law that the NFL
17   and its member teams are capable of concerted action and therefore cannot
18   collectively be considered a “single entity.”
19         Third, Plaintiffs move for a determination as a matter of law that the NFL
20   Defendants have failed to put forth sufficient evidence to sustain their evidentiary
21   burden on their purported procompetitive justifications, including competitive
22   balance, quality enhancement, or over-the-air television availability. The NFL has
23   never, in their business or in this litigation, established any fact-based connection
24   between “competitive balance” and the restraints at issue here. The NFL claims that
25   sharing telecast revenue promotes competitive balance, but putting to one side the
26   unsupported, conclusory and self-serving statements of the NFL’s witnesses, none of
27   the evidence adduced at trial shows that revenue sharing itself promotes competitive
28   balance. Nor have Defendants connected any purported “quality enhancements” to

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  1   the challenged conduct or shown that the interest in maintaining access to a few
  2   games on over-the-air television justifies explicit restraints that decrease overall
  3   viewership and prevent tens of millions of fans from accessing their preferred
  4   telecasts.
  5          Finally, Plaintiffs move on the Defendants’ perfunctory affirmative defenses
  6   of laches and statute of limitations.
  7   II.    STANDARD FOR GRANTING JUDGMENT AS A MATTER OF LAW
  8          Once “a party has been fully heard on an issue during a jury trial and the court
  9   finds that a reasonable jury would not have a legally sufficient evidentiary basis to
 10   find for the party on that issue, the court may… resolve the issue against the party.”
 11   Fed. R. Civ. P. 50(a). In the Ninth Circuit, “judgment as a matter of law is appropriate
 12   when the evidence presented at trial permits only one reasonable conclusion.” Torres
 13   v. City of Los Angeles, 548 F.3d 1197, 1205 (9th Cir. 2008) (cleaned up).
 14   III.   ARGUMENT
 15          A.    No Reasonable Juror Could Conclude That Plaintiffs Have Failed
                   to Meet Their Initial Burden.
 16
             Defendants explicitly agreed not to compete in the sale of their telecast rights.
 17
      In most any other context, a horizontal agreement not to compete would be a per se
 18
      violation of Section 1. NCAA v. Bd. of Regents of Univ. of Okla., 468 U.S. 85, 100
 19
      (1984) (“NCAA”) (holding that the NCAA’s television restraints amounted to
 20
      “[h]orizontal price fixing and output limitation[s]” of the sort that are “ordinarily
 21
      condemned” as “‘illegal per se.’”). But because some cooperation is necessary for
 22
      sports leagues to operate, the Supreme Court has held that the per se rule does not
 23
      apply to agreements among members of a sports league of this type, and courts should
 24
      instead evaluate agreed-upon league restraints under the rule of reason. NCAA v.
 25
      Alston, 141 S. Ct. 2141, 2157 (2021) (citing NCAA).
 26
             Under the rule of reason, the plaintiff has the initial burden to prove the
 27
      challenged restraint “has a substantial anticompetitive effect that harms consumers
 28
      in the relevant market.” Ohio v. Am. Express Co., 585 U.S. 529, 541 (2018) (“Amex”).
                                                 2
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  1   They may do so in any of three ways: by establishing that the defendants have
  2   implemented a naked restraint on competition; by directly assessing the effects on
  3   competition; or indirectly, by assessing the defendants’ power in a defined product
  4   market coupled with evidence of likely harm to competition. 1 Once they do so, the
  5   burden shifts to defendants to justify the restraints. Id. Plaintiffs have met their
  6   burden under all three frameworks.
  7         First, as the Ninth Circuit held in this case, “plaintiffs can show that a restraint
  8   injures competition if they plausibly allege ‘a naked restriction on price or output,’
  9   such as ‘an agreement not to compete in terms of price or output.’” In re NFL’s
 10   Sunday Ticket Antitrust Litig., 933 F.3d 1136, 1151 (9th Cir. 2019) (“NFLST”)
 11   (quoting NCAA, 468 U.S. at 109). 2 The Ninth Circuit held that, as alleged, the
 12   restraints at issue in this case are naked restraints of this kind: “[B]ecause the alleged
 13   restrictions on the production and sale of telecasts constitute ‘a naked restriction’ on
 14   the number of telecasts available for broadcasters and consumers, the plaintiffs were
 15   not required to establish a relevant market.” Id. at 1152 (quoting NCAA, 468 U.S. at
 16   109). “Here, as in NCAA, ‘an observer with even a rudimentary understanding of
 17   economics could conclude that the arrangements in question would have an
 18   anticompetitive effect on customers and markets.’” NFLST, 933 F.3d at 1156
 19   (quoting Cal. Dental Ass’n, 526 U.S. at 770). Indeed, the restraints are set out in the
 20   contracts that govern NFL telecast distribution, which is why this Court held that “if
 21   the contracts match-up to the allegations, then there will be a violation applicable to
 22   the whole class.” In re NFLST Antitrust Litig., 2023 WL 1813530, at *11 (C.D. Cal.
 23   Feb. 7, 2023). Those contracts are not disputed.
 24   1
        Plaintiffs also can show that the conduct of the NFL Defendants violated Section 2
 25
      of the Sherman Act by showing that they conspired to create a monopoly over the
      telecast of their games with the purpose of inflicting anti-competitive harm.
 26
      2
        It is well-settled that direct proof of market power in a defined antitrust market is
      not required to prove an antitrust violation based on a “the absence of proof of market
 27
      power does not justify a naked restriction on price or output. To the contrary, when
      there is an agreement not to compete in terms of price or output, ‘no elaborate
 28
      industry analysis is required to demonstrate the anticompetitive character of such an
      agreement.’” NCAA, 468 U.S. at 109 (quoting Nat’l Soc’y Prof’l Eng’rs, 435 U.S.
      679, 692 (1978)).
                                                  3
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  1         Second, the direct effects of the restraints are undeniable because Defendants
  2   have conceded the anticompetitive purpose and effects of the restraints, contending
  3   that they are necessary to support their purported procompetitive justifications. See
  4   In re NFLST Antitrust Litig., 2024 WL 168298, at *13 (C.D. Cal. Jan. 11, 2024)
  5   (“Defendants argue that the exclusivity provisions are essential to CBS and FOX and
  6   eliminating them would harm fans and essentially destroy the NFL’s broadcasting
  7   model.”). Instead of denying that they have intentionally restricted output (in part by
  8   keeping Sunday Ticket prices high enough to discourage millions of NFL fans from
  9   subscribing to Sunday Ticket and in order to protect CBS and Fox from competition),
 10   they have made that a cornerstone of their defense, emphasizing that this output
 11   limitation has been the league’s official policy for decades. 3
 12         These explicit limitations are set out in the Defendants’ contracts with CBS,
 13   Fox, and DirecTV. The agreements with the Networks expressly limit competition
 14   by requiring that Sunday Ticket be offered as a “premium product” only “for avid
 15   League fans” to “satisfy complementary demand.” 4
 16

 17
      3
 18
        See, e.g., Dkt. No. 1413-4, Kraft Depo. 29:03-29:09 (“Q: And how is it that offering
      Sunday Ticket product at less than the premium price would harm the over-the-air
 19
      broadcast? I think that would devalue our over-the-air partners’ packages. And then
      they wouldn’t be incented to continue to pay us the way they pay us”); Tr. 1114:7-
 20
      11 (Brian Rolapp: “Was it the NFL’s goal to make Sunday Ticket -- to make sure it
      was a complement to and not a substitute of the network Sunday Afternoon Games?
 21
      A. I think that's fair.”); Tr. 1682:18-20 (Sean McManus: Q: “And Sunday Ticket’s
      not intended to take viewership away from CBS, right?” A: “Uh-huh. Yes.”); Tr.
 22
      516:24-518:4 (Larry Jones: Q: “Isn’t it true, sir, that in addition to this requirement
      that – in the contract that Sunday Ticket be sold on a subscription basis, FOX and the
 23
      NFL have also long had an agreed principle that Sunday Ticket would remain a
      complementary premium product that would not materially compete with FOX’s in-
 24
      market games? A: Yes. The – the idea that it was for the avid fan and it would be a
      premium service that would offer the resale partner to sell the games.”).
 25   4
        See, e.g., TX146A (CBS-NFL agreement) at -542; TX146D (FOX-NFL agreement)
 26
      at -742; TX44 at -440; TX45 at -469 (2015-22 agreement with DirecTV stating that
      “in all cases NFL Sunday Ticket shall be marketed and offered in a manner consistent
 27
      with its high-quality, premium subscription sports offering.”). There is no other way
      to interpret “complementary demand” other than as non-substituting demand—the
 28
      very definition of an anticompetitive agreement. Tr. 1114:7-11 (Brian Rolapp) (“Was
      it the NFL's goal to make Sunday Ticket—to make sure it was a complement to and
      not a substitute of the network Sunday Afternoon Games? A. I think that's fair.”).
                                                 4
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  1         In addition to the reduction in the output of telecasts and deliberate suppression
  2   of viewership, the restraints also diminish NFL telecast quality by making telecast
  3   availability unresponsive to consumer preference. By design, the restraints force a
  4   limited subset of games to be aired in any given market. If “out of market” telecasts
  5   were more widely available at reasonable, non-“premium” prices, consumer welfare
  6   would increase because many fans currently forced to watch a less desired telecast
  7   (or not watch at all), would instead be able to watch their first choice telecast. See
  8   NFLST, 933 F.3d at 1143 (“But if NFL fans happen to live far away from their
  9   favorite team—such as a Seattle Seahawk fans living in Los Angeles—they can
 10   watch every Seahawks game only if they purchase DirecTV’s NFL Sunday
 11   Ticket…”). The NFL has estimated that 35 million avid fans are “underserved”
 12   because they want to watch games unavailable locally but do not have access via ST.
 13   TX172 at -541. And this is only avid fans. The NFL determined that there are “75
 14   million fans, either avid or casual, interested in watching out-of-market games.” Tr.
 15   744:8-9 (Dr. Rascher) (emphasis added).
 16         Increased prices and decreased consumer choices are core antitrust injuries.
 17   When considering the NCAA’s broadcast restraints in NCAA, the Supreme Court
 18   held that the “anticompetitive consequences of this arrangement are apparent.
 19   Individual competitors lose their freedom to compete. Price is higher and output
 20   lower than they would otherwise be, and both are unresponsive to consumer
 21   preference.” 468 U.S. at 106-07; see also, e.g., AGC of Cal., Inc. v. Cal. State Council
 22   of Carpenters, 459 U.S. 519, 528 (1983) (“Coercive activity that prevents its victims
 23   from making free choices between market alternatives is inherently destructive of
 24   competitive conditions…”). Perhaps because this output limitation is undeniable, the
 25   NFL’s principal focus at trial was that their intentional restriction of output had
 26   secondary procompetitive purposes and effects. But that is just to say that Plaintiffs
 27   have met their initial burden of proving a direct impact on competition.
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  1          Finally, Plaintiffs have shown that the Defendants have market power in the
  2   market for live professional football telecasts. “In order to show that an agreement
  3   injures competition, a plaintiff must generally show that the defendants have market
  4   power within a relevant market, meaning that the defendants have ‘the ability to raise
  5   prices above those that would be charged in a competitive market.’” NFLST, 933
  6   F.3d at 1151 (citations omitted).
  7         As the Ninth Circuit held, “Given that professional football games have no
  8   substitutes (as fans do not consider NFL games to be comparable to other sports or
  9   forms of entertainment), see L.A. Mem’l Coliseum Comm’n v. NFL, 726 F.2d 1381,
 10   1393 (9th Cir. 1984), the defendants in this case have effective control over the entire
 11   market for telecasts of professional football games.” 933 F.3d at 1155. Even if it were
 12   not already the law of the case, the law is consistent that the leagues of individual
 13   sports are an appropriate product market. 5 Most comparably, in NCAA, the Supreme
 14   Court recognized that college football telecasts constituted a separate market from
 15   telecasts of other sports and, indeed, from professional football telecasts. 468 U.S. at
 16   111. 6 That holding only makes sense if professional football telecasts are an
 17   independent and separate market. 7
 18
      5
        See, e.g., Laumann v. NHL, 907 F. Supp. 2d 465, 491-92 (S.D.N.Y. 2012) (“It is
 19   well established that there are peculiar and unique characteristics that set major
      league men's ice hockey and baseball apart from other sports or leisure activities, that
 20   close substitutes do not exist and that the Leagues possess monopolies of their
      respective sports.”) (cleaned up); Fishman v. Estate of Wirtz, 807 F.2d 520, 531 (7th
 21   Cir. 1986) (professional basketball); L.A. Mem’l Coliseum Comm’n v. NFL, 726 F.2d
      1381, 1393 (9th Cir. 1984) (professional football); Metro. Intercollegiate Basketball
 22   Ass’n v. NCAA, 339 F. Supp. 2d 545, 550 (S.D.N.Y. 2004) (college basketball); U.S.
      Football League v. NFL, 644 F. Supp. 1040, 1056 (S.D.N.Y. 1986) (professional
 23   football), aff’d, 842 F.2d 1335 (2d Cir. 1988); Mid-South Grizzlies v. NFL, 720 F.2d
      772, 783 (3d Cir. 1983) (same); Phila. World Hockey Club v. Phila. Hockey Club,
 24   351 F. Supp. 462, 501 (E.D. Pa. 1972) (major league hockey).
      6
 25    The Supreme Court has also held that championship boxing matches constituted a
      separate market from non-championship boxing. Int’l Boxing Club of N.Y., Inc. v.
 26   United States, 358 U.S. 242 (1959).
 27   7
       In NCAA, the district court found the NCAA to have violated Section 2 of the
      Sherman Act, finding that it was “clear that NCAA exercises monopoly power,”
 28   because “NCAA controls all of regular season college football television.” Bd. of
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  1         The testimony in this case uniformly supports this conclusion. No witness
  2   suggested that anything else on a Sunday afternoon—other than the restrained out of
  3   market telecasts—competed or could compete in any meaningful way with the
  4   Sunday afternoon football broadcasts. Defendants stressed that their broadcasts alone
  5   dominated the television ratings with no other programming coming close. 8 Indeed,
  6   the NFL’s economic expert, Dr. Bernheim, did not contest that the relevant market is
  7   NFL telecasts. See, e.g., Tr. 2029:25-2030:3 (“But for the purpose of evaluating the
  8   effect on overall output, you have to use the market definition. I used Dr. Rascher's
  9   market definition.”). Dr. Bernheim also testified that the NFL teams have market
 10   power. Tr. 1948:4-5 (NFL teams could use other means “to charge a higher price, but
 11   that is simply a matter of exercising market power”).
 12         Defendants’ own supposed procompetitive justifications confirm that the NFL
 13   has market power within the relevant market of NFL telecasts. If other programming
 14   were in the same market and competed for viewers’ attention, CBS and Fox would
 15   not demand that Sunday Ticket viewership be limited. Similarly, the NFL claims that
 16   the added revenue DirecTV earned by having Sunday Ticket exclusively encouraged
 17   DirecTV to invest in the product. Leaving aside the dubious merits of that
 18   justification, which runs counter to the idea that competition (rather than the lack of
 19   it) spurs innovation, it only makes sense if DirecTV can charge a supracompetitive
 20   price. If other products constrained Sunday Ticket pricing, then DirecTV’s exclusive
 21

 22

 23   Regents of Univ. of Okla. v. NCAA, 546 F. Supp. 1276, 1323 (W.D. Okla. 1982).
      While the Supreme Court did not reach the Section 2 issue, it held that “the NCAA’s
 24   complete control over those broadcasts provides a solid basis for the District Court’s
      conclusion that the NCAA possesses market power with respect to those broadcasts.”
 25   468 U.S. at 112.
 26   8
       See, e.g., 1478:6-1479:14 (Roger Goodell: NFL accounted, inter alia, for 46 of top
 27
      50 shows in 2021); 967:7-9 (Rolapp testifying that NFL telecasts are advertisers’
      only “sure bet”);614:5-9 (Larry Jones: “Q: And did you get more for advertising for
 28
      NFL games than any other sport? A: By far . . . [b]ecause we get more eyeballs.”);
      967:2-9 (Rolapp testifying that NFL telecasts are “consistently the most viewed
      programming on television and as a result it attracts a lot of advertisers.”).
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  1   rights to out-of-market NFL game telecasts would have no effect and the NFL’s
  2   justification would not make sense.
  3         No matter how you analyze it—naked restraint, direct effects, or indirect
  4   effects—no reasonable juror could conclude that Plaintiffs have not met their initial
  5   burden. As a result, Defendants face “a heavy burden of establishing an affirmative
  6   defense which competitively justifies this apparent deviation from the operations of
  7   a free market.” Summ. J. Order, Dkt. 1155 at 18 (quoting NCAA, 468 U.S. at 113).
  8         B.     The Teams Are Not a Single Entity Incapable of Concerted Action
  9         This Court has correctly stated that Defendants’ single-entity argument
 10   succeeds only if it is not “possible for independent entities—i.e., individual sports
 11   teams—to license telecast rights on their own without pooling their rights with a
 12   conference or a league.” 2024 WL 168298 at *16 (emphasis added). The single entity
 13   doctrine applies only when otherwise separate entities “‘are incapable of conspiring
 14   with each other for purposes of § 1 of the Sherman Act.’” Am. Needle, Inc. v. NFL,
 15   560 U.S. 183, 194 (2010) (quoting Copperweld, at 777). Here, no reasonable juror
 16   could find the teams incapable of concerted action given that it is undisputed that
 17   they—both historically and presently—can sell their telecasts rights individually. 9
 18         Defendants’ only response is to continue to elide the necessity of some
 19   cooperation between the teams with the notion that they are incapable of concerted
 20   action. That position has been repeatedly rejected in this case and by the Supreme
 21   Court. In NCAA, the Court recognized that some cooperation was necessary for
 22   college football telecasts to exist, but the consequence of that was simply that the rule
 23
      9
 24
        Tr. 968:5-12 (Rolapp testimony that teams sell their preseason telecast rights
      independently); 1638:6-11 (J. Jones testimony that Cowboys license their preseason
 25
      telecasts rights “on their own without the NFL”); 1751:17-19 (Yancy testimony that
      teams broadcast their own preseason games); 703:10-17; 705:18-706:1 (Rascher
 26
      testimony that teams sold rights independently in the 1950s); 1649:13 (McManus,
      CBS Executive, testimony that CBS began working with the teams in 1950s); see
 27
      also United States v. NFL, 196 F. Supp. 445, 446 (“Defendants concede that the 1961
      NFL-CBS contract marks a basic change in National Football League television
 28
      policy. Prior to this contract each member club individually negotiated and sold the
      television rights to its games to sponsors or telecasters with whom it could make
      satisfactory contracts.”).
                                                 8
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  1   of reason applied. 468 U.S. at 117. And in American Needle, the Court emphasized,
  2   in a case involving the NFL, “[a]ny joint venture involves multiple sources of
  3   economic power cooperating to produce a product. And for many such ventures, the
  4   participation of others is necessary. But that does not mean that necessity of
  5   cooperation transforms concerted action into independent action.” 560 U.S. at 199.
  6   The Court noted, for example, that NFL teams compete economically for, among
  7   other things, “gate receipts,” id. at 197, even though the fans are charged for a game
  8   involving two cooperating teams in a league-set schedule.
  9          “Only the agreements that are the subject of plaintiffs’ antitrust action prevent
 10   such independent actions. Thus, we reject the defendants’ argument that American
 11   Needle, 560 U.S. at 190, is inapposite; here, like in American Needle, the agreements
 12   not to compete concern separately owned intellectual property, and impose an
 13   unlawful restraint on independent competition.” 933 F.3d at 1154; see also NCAA,
 14   468 U.S. at 99 (“By participating in an association which prevents member
 15   institutions from competing against each other on the basis of price or kind of
 16   television rights that can be offered to broadcasters, the NCAA member institutions
 17   have created a horizontal restraint—an agreement among competitors on the way in
 18   which they will compete with each other.”). Because individual NFL teams have
 19   broadcast and continue to broadcast games individually, as professional teams
 20   outside of the NFL do on a routine basis, it is undeniably possible for them to do so.
 21   See Tr. 2119:4-8 (E. Elhauge) (“It’s also true that in baseball, basketball, and hockey,
 22   teams individually sell telecasts. Any telecast that’s basically not nationally shown is
 23   individually telecast by the teams, even though those leagues obviously, again, are
 24   collectively setting rules and schedules.”). Defendants have offered no evidence to
 25   suggest otherwise. There is thus no disputed fact for the jury to resolve.
 26

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            C.     Defendants Have Not Met Their Burden of Proof of Establishing
  1                Procompetitive Justifications Capable of Outweighing the Direct
                   Harm to Competition.
  2

  3         Because Plaintiffs have met their initial burden of proving impact on
  4   competition, Defendants face the “heavy burden of establishing an affirmative
  5   defense which competitively justifies this apparent deviation from the operations of
  6   a free market.” Summ. J. Order, Dkt. 1155 at 18 (quoting NCAA, 468 U.S. at 113).
  7   Defendants have mentioned a few purported procompetitive benefits—including
  8   competitive balance and telecast quality—but have not come close to meeting their
  9   burden.
 10         A legally cognizable procompetitive effect is not one that simply increases
 11   profits, spreads wealth to others, or achieves some laudable social purpose. See Nat’l
 12   Soc’y of Prof’l Eng’rs v. United States, 435 U.S. 679, 692 (1978) (“NSPE”) (“the
 13   purpose of the analysis is to form a judgment about the competitive significance of
 14   the restraint; it is not to decide whether a policy favoring competition is in the public
 15   interest, or in the interest of the members of an industry.”). To truly be
 16   procompetitive, a justification must promote or sustain competition in the market
 17   harmed by the restraint. United States v. Topco Assocs., Inc., 405 U.S. 596, 610
 18   (1972) (competition “cannot be foreclosed with respect to one sector of the economy
 19   because certain private citizens or groups believe that such foreclosure might
 20   promote greater competition in a more important sector of the economy”).
 21         As this Court recently emphasized in the context of product quality, evidence
 22   of a procompetitive benefit “is only relevant if it is related to the challenged
 23   restraint.” Dkt. 1292 at 5 (citing NCAA, 468 U.S. at 104). At every turn, Defendants
 24   have failed to meet their burden of establishing this relationship. This is especially
 25   so as they have ignored this Court’s and the Ninth Circuit’s repeated admonitions
 26   that the restraints must be considered as a connected whole. See NFLST, 933 F.3d at
 27   1152 (“Contrary to the defendants’ argument, we are required to take a holistic look
 28   at how the interlocking agreements actually impact competition.”). Dr. Bernheim

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  1   testified only that the Teams’ pooling agreement was procompetitive in isolation. Tr.
  2   1931:12-16. He did the same with respect to the NFL’s agreement to distribute
  3   Sunday Ticket exclusively through DirecTV. Tr. 1967:2-5. He offered no opinion on
  4   whether the challenged interlocking web of agreements as a whole promoted
  5   competition. In fact, he defended the NFL’s fixing of price as simply the use of the
  6   NFL’s market power, testifying, “And as far as I’m aware in this case, there’s no
  7   allegation that the NFL acquired whatever market power it has a professional football
  8   league through illegitimate means.” Tr. 1978:8-15. This, of course, ignores Plaintiffs’
  9   allegations that the teams agreed not to compete and create a monopoly in the NFL,
 10   acting as their joint single seller of all of their telecast rights, and limited the
 11   distribution of the out-of-market telecasts at the behest of CBS and Fox. See Tr.
 12   2110:24-2111:2 (E. Elhuage) (“So in this case, there’s multiple restraints being
 13   challenged and [Dr. Bernheim] failed to consider the combined effects of them.
 14   Instead, he artificially separated them out and treated them in isolation.”)
 15         Dr. Bernheim even testified that he did not analyze the effect of “a series of
 16   interlocking agreements to raise the price of Sunday Ticket in order to limit
 17   distribution of Sunday Ticket”—which is a summary of much of the challenged
 18   conduct in this case—stating, “That was not what Dr. Rascher was discussing in his
 19   report, so no .... That’s not germane to the opinion of the anticompetitive or
 20   procompetitive effects of the exclusive conduct.” Tr. 2024:9-19. That, of course, is
 21   precisely what Dr. Rascher discussed in multiple parts of his report. See, e.g., Dkt.
 22   956-4, Rascher Rpt. at 23 (“Defendants effectuated these restrictions through three
 23   sets of interlocking agreements that captured, collectively, the allegedly
 24   anticompetitive conduct (‘Challenged Conduct’): the concerted action by the teams
 25   (through the NFL), their broadcast partners, and DirecTV to restrict output, raise
 26   prices, and increase profits.”); see also id. at 44-46 (discussing “premium”
 27   requirement as a means to raise prices and protect the networks).
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                   1.    No Reasonable Juror Could Find the Defendants’
  1                      “Competitive Balance” Is a Proper Procompetitive
                         Justification.
  2

  3         No reasonable juror could find that the Defendants’ evidence regarding
  4   “competitive balance” meets their “heavy burden” to prove their affirmative defense.
  5   While courts have often recognized that competitive balance is the kind of factor that
  6   could serve as a procompetitive justification, they have been consistently wary of its
  7   assertion in the absence of analysis to show its actual effects. This is because the
  8   antitrust laws are not interested in competitive balance among teams as an
  9   independent goal. Competitive balance can only be a justification for the restraints if
 10   Defendants can prove that maintaining it increases consumer demand and output in
 11   the relevant market. “The hypothesis that legitimates the maintenance of competitive
 12   balance as a procompetitive justification under the Rule of Reason is that equal
 13   competition will maximize consumer demand for the product.” NCAA, 468 U.S. at
 14   119-20. The Supreme Court in NCAA rejected the NCAA’s proffered competitive
 15   balance justification both because the NCAA had not shown a connection between
 16   the challenged conduct and competitive balance (“is not even arguably tailored to
 17   serve such an interest. It does not regulate the amount of money that any college may
 18   spend on its football program, nor the way in which the colleges may use the revenues
 19   that are generated by their football programs,” 468 U.S. at 119) and because it was
 20   inconsistent with the finding that output would increase without the restraints. “The
 21   finding that consumption will materially increase if the controls are removed is a
 22   compelling demonstration that they do not in fact serve any such legitimate purpose.”
 23   468 U.S. at 120.
 24         Similarly, in Law v. NCAA, 134 F.3d 1010, 1024 (10th Cir. 1998), the Tenth
 25   Circuit affirmed the district court’s conclusion at summary judgment that the NCAA
 26   had failed—as a matter of law—to justify restraints on coaching salaries on the basis
 27   of competitive balance (“Nowhere does the NCAA prove that the salary restrictions
 28   enhance competition, level an uneven playing field, or reduce coaching inequities.”).

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  1   The district court in Law found that the defendants had not produced “any plausible
  2   evidence that the rule’s restraint relates directly and effectively to the preservation of
  3   competitive balance …; instead, it offers only argument on this point.” Law v. NCAA,
  4   902 F. Supp. 1394, 1409 (D. Kan. 1995).
  5         The court in O’Bannon v. NCAA rejected a similar competitive-balance
  6   justification for the same reason it must be rejected here: the NCAA self-servingly
  7   put forth “competitive balance” as a justification without analyzing the connection
  8   between the restraints and competitive balance let alone showing that the NCAA’s
  9   level of balance increased output:
 10          Even if the NCAA had presented some evidence of a causal connection
             between its challenged rules and its current level of competitive balance,
 11          it has not shown that the current level of competitive balance is
             necessary to maintain its current level of consumer demand. It is
 12          undisputed that the ideal level of competitive balance for a sports league
             is somewhere between perfect competitive balance (where every team
 13          has an equal chance of winning every game) and perfect imbalance
             (where every game has a predictable outcome). The NCAA has not even
 14          attempted to identify the specific level of competitive balance between
             those extremes that is ideal or necessary to sustain its current popularity.
 15          Given the lack of such evidence in the record, the Court finds that the
             NCAA’s challenged rules are not needed to achieve a level of
 16          competitive balance necessary, or even likely, to maintain current levels
             of consumer demand for FBS football and Division I basketball.
 17
      O’Bannon v. NCAA, 7 F. Supp. 3d 955, 979 (N.D. Cal. 2014) (citations omitted),
 18
      aff’d in relevant part, 802 F.3d 1049, 1072 (9th Cir. 2015).
 19

 20         Indeed, defendants have never cited any case in which competitive balance

 21   was accepted as a justification for its otherwise anticompetitive conduct. 10

 22         As in NCAA and Law, the evidence at trial failed to support this purported

 23   justification for two independent reasons. First, there is zero evidence that the joint

 24   licensing arrangement contributes to competitive balance. To the contrary, the

 25   evidence at trial was consistent that it does not do so. And second, there is no

 26   evidentiary basis for the conclusion that any competitive balance that it might cause

 27   10
        Even the NFL’s argument that the player draft promoted competitive balance
 28
      sufficiently to justify restraining competition was rejected in Smith v. Pro-Football,
      420 F. Supp. 738, 746 (D.D.C. 1976), aff’d in relevant part, 593 F.2d 1173 (D.C. Cir.
      1978).
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  1   has had any significant, quantifiable effect on price or output. To borrow the words
  2   of Judge Wilken from O’Bannon, “It is undisputed that the ideal level of competitive
  3   balance for a sports league is somewhere between perfect competitive balance (where
  4   every team has an equal chance of winning every game) and perfect imbalance
  5   (where every game has a predictable outcome). The [NFL] has not even attempted to
  6   identify the specific level of competitive balance between those extremes that is ideal
  7   or necessary to sustain its current popularity.” 7 F. Supp. 3d at 979.
  8         There is no evidence that the NFL itself ever conducted a study aimed at that
  9   question, which the NFL’s witnesses repeatedly admitted. Tr. 1526:3-14 (Goodell:
 10   “Q: The NFL has no studies . . . that we can look at that says revenue sharing among
 11   the teams from these TV revenues helps competitive balance. A: . . . We may not
 12   have a study . . .”). Indeed, what analysis the league has done is directly contrary to
 13   its litigation position. See TX336 at NFL_0494190 (internal NFL document for the
 14   special committee on league economics stating “little correlation between revenue
 15   and winning percentage”). Moreover, the NFL’s economic expert did not even
 16   attempt to tie competitive balance to any of the alleged restraints other than pooling.
 17   See Tr. 1886:23-25. Dr. Bernheim had nothing to say about the effects of exclusivity
 18   or the premium-price requirement on competitive balance. Nor did he express a view
 19   about whether the challenged conduct as a whole promoted competitive balance (or
 20   any other alleged procompetitive benefit). Tr. 2160:13-16 (E. Elhauge) (“The
 21   argument on competitive balance is limited to the pooling agreement. There’s no real
 22   even argument offered to suggest that bundling or exclusive dealing could be justified
 23   by – by an effect on competitive balance.”). At bottom, all Defendants have is a raw
 24   assertion that some kind of “competitive balance,” divorced from the challenged
 25   restraints, provides a defense to their clear (profit-enhancing) restraint on trade.
 26         Second, just as in NCAA, the NFL has offered no basis whatsoever for the
 27   conclusion that the challenged conduct promotes competitive balance at all. They
 28   have simply asserted the claim that the revenue that is shared through this

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  1   arrangement leads to competitive balance. As in NCAA, the restraints at issue do “not
  2   regulate the amount of money that any [team] may spend on its football program, nor
  3   the way in which the [teams] may use the revenues that are generated by their football
  4   programs.” Id. at 119. As the experts testified, the league has a host of other
  5   mechanisms, including the salary floor and cap, that do these very things. See Tr.
  6   833-17-18 (Dr. Rascher) (“The floor and the cap is what drives competitive balance
  7   in the NFL.”); Tr. 2163:15-16 (E. Elhauge) (“So the less anticompetitive alternatives,
  8   I think, are clearly salary caps and salary floors.”)
  9         Nor did Dr. Bernheim discuss any research by sports economists that would
 10   tend to support his view that universal revenue sharing of broadcasting money is
 11   necessary for competitive balance, and for good reason: the broad consensus among
 12   economists that revenue sharing does not promote competitive balance. It is
 13   universally accepted among sports economists that revenue sharing merely transfers
 14   money between wealthy owners who have no lack of access to resources. And it does
 15   so without providing them any incentive to invest in quality that they did not already
 16   have. 11 Dr. Bernheim repeatedly emphasized the importance of analyzing the
 17   incentives of the owners, but never explained how their incentives to invest in team
 18   quality are affected by receiving revenue that is unrelated to team quality, especially
 19   in the context of a league with a salary cap and floor.
 20         Moreover, Dr. Bernheim expressly disavowed any attempt to quantify the
 21   effects of revenue sharing, either on competitive balance, or on the ultimate question
 22   of price and output. Instead, remarkably, Dr. Bernheim simply denied that the league
 23   would be interested in achieving the ideal level of revenue sharing in the but-for
 24   world, so it was not relevant to his analysis. 2029:15-18. He acknowledged in his
 25   11
        This not a controversial point in the sports economics world. Roger Blair’s basic
 26
      textbook, Sports Economics, which Bernheim cites in his report makes the point
      clearly: “[R]evenue sharing can help the teams in weak markets and enable them to
 27
      be more competitive in the market for player talent. We would expect that, with better
      talent, the weak-market teams will improve, and competitive balance will likewise
 28
      be improved. However, as we will see, this is a myth because teams will still choose
      the quality level that maximizes profits.” Roger Blair, Sports Economics, (Cambridge
      University Press, 2011): 75.
                                                 15
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  1   deposition that while “a proper analysis of this conduct” would require “address[ing]
  2   this issue head on front and center,” he testified that Dr. Rascher is the one who
  3   should have done so. 12 But this is an issue on which Defendants, not Plaintiffs, bear
  4   the burden of proof, and they are left with no evidence or expert opinion that supports
  5   their position. By contrast, Dr. Rascher has provided testimony concerning the level
  6   of revenue sharing that could arguably be necessary to promote competitive balance:
  7   the minimum—if any—needed to ensure that teams can meet the salary floor. Tr.
  8   832:8-832:11 (“Q: And so the more narrow a salary cap and salary floor are, the more
  9   competitive balance there is. Ever team has a better shot; right? A: Yes. That’s
 10   generally true.”). While it is exceedingly unlikely that any would be needed
 11   (particularly because the floor is calculated by total revenue and thus would drop if
 12   revenue dropped), the obvious less restrictive alternative to eliminating competition
 13   within the telecast market is a degree of partial revenue sharing necessary to ensure
 14   each club can meet the salary floor. See Tr. 2197:22-23 (E. Elhauge) (“significantly
 15   lower revenue sharing could have enabled teams to meet current expenditures”).
 16         Simply put, Dr. Bernheim has admitted that he has made no effort to meet
 17   Defendants’ burden of proof on the issue, and he has made no effort to tie it to the
 18   challenged conduct as a whole. There is no other competent evidence in support of
 19   this position.
 20                2.    Defendants’ Have Not Presented Evidence that Quality
                         Enhancements Can Justify the Restraints at Issue
 21

 22         While evidence of improved “quality” of the product can be a procompetitive
 23   justification, a quality improvement is relevant only if it is caused by the challenged
 24   conduct and can be shown to enhance competition by increasing demand to the point
 25
      12
 26
         See Tr. 2029:7-18 (“You haven’t done any analysis to show whether the needle
      can be thread of having a revenue sharing position—number that gives you enough
 27
      competition but doesn’t undermine competitive balance. Fair? A. I don’t think that’s
      fair. What I’ve shown is that the needle would not be thread. And whether it could
 28
      be thread, whether there's some other ideal thing that could happen that could thread
      the needle, that's not relevant for me. That’s relevant for Dr. Rascher because he’s
      claiming it’s not just possible, but that he thinks it would happen.”).
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  1   that it increases output. “The only permissible argument is that the restraints are what
  2   make the product high quality, and evidence of Plaintiffs’ and consumers’ actions
  3   then can only be used if it clearly supports the specific ways in which the restraints
  4   have improved the product. The evidence must be used to show that because the
  5   restraints made the product high quality, this is why consumers are willing to pay
  6   high prices for Sunday Ticket and continue to buy it.” Dkt. 1292 at 5-6.
  7         The NFL’s witnesses have testified repeatedly that NFL television is a high-
  8   quality product that has seen various quality improvements over the years. But, with
  9   one possible exception, none of these so-called quality improvements have been tied
 10   to the challenged restraints in any way. For example, the NFL’s Cathy Yancy spent
 11   the bulk of her time testifying about the work she does to ensure that NFL telecasts
 12   meet the NFL’s quality standards. Yet when she was asked whether the same systems
 13   for ensuring quality could be in place without the limitations on the sale of Sunday
 14   Ticket or without the limitations on individual team sales of rights, she had no
 15   answer. 13
 16         The NFL has tried to suggest, without evidence, that “exclusivity” drives
 17   quality. Yet Sean McManus, head of sports programming at CBS, agreed with the
 18   common-sense view that competition drives quality. Tr. 1695:23-1696:6 (“Q. And
 19   CBS innovates in all the programming it does to differentiate its product from
 20   competitors; right? A. Yes. Q. And CBS and FOX often broadcast NFL games at the
 21   same time; right? A. Yes. Q. And CBS tries to innovate in those games to differentiate
 22   its NFL product from FOX. Fair? A. Yes.”).
 23         Dr. Bernheim similarly claimed that exclusivity improved quality but could
 24   not identify a single innovation that could be tied to the challenged conduct. “I can’t
 25   speak to any particular innovation and say whether any particular innovation would
 26   have occurred or would not have occurred in the but-for world.” Tr. 1963:1-3.
 27   13
        See, e.g., Tr. 1773:10-19 (“Q. And do you have any reason to believe that in any
 28
      world, even where the teams are selling their own rights or where Sunday Ticket is
      not exclusive to DirecTV, the owners and the NFL wouldn’t want to have a central
      officiating rule? A. I don’t know. I don’t know what that world looks like.”).
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  1         The only innovation that Defendants tie to Sunday Ticket is Red Zone, which
  2   was created by DirecTV in 2005. But the fact that DirecTV created Red Zone does
  3   not imply that it is the result of its exclusivity. To the contrary, DirecTV would have
  4   been equally or more likely to create innovations of that type if it faced competition
  5   from other providers. 14 And the record is clear that the NFL, consistent with common
  6   sense, held the view that DirecTV’s exclusivity was a hindrance to innovation, not a
  7   cause of innovation.15 Indeed, the evidence in this case unambiguously showed that
  8   the exclusive arrangement led to a decline in quality with the ultimate conclusion that
  9   Sunday Ticket had become in the NFL’s words, a “crappy” product. 16
 10         Moreover, Red Zone was not an enhancement to Sunday Ticket itself, because
 11   the NFL initially prevented DirecTV from including it in the basic package and
 12   required it to set an artificially high price (around $100) whose express purpose was
 13   to ensure that no more than a small fraction of the already constrained Sunday Ticket
 14   subscriber base received it. TX272 at -736 (2004 agreement with DirecTV for
 15   Sunday Ticket, outlining that the Max Sunday Ticket package must be priced at $100
 16   more than the basic package and be limited to 15% of the Sunday Ticket subscriber
 17   base); Tr. 256:8-18, 388:1-6, 391:18-22 (Steven Bornstein: agreeing that the NFL
 18

 19
      14
         Indeed, were exclusivity the spur to innovation, one would be hard pressed to
      understand why the NFL appropriated Red Zone from DirecTV and made it available
 20
      through multiple other channels of distribution. What incentive would DirecTV have
      had in the future if its innovations were spurred by exclusivity, but the innovation
 21
      was then made generally available?
      15
         Tr: 1514:11-14 (Goodell) (“Q: And my question is, is it accurate to say from this
 22
      point in November ’18 through February of ’23 there were still no real innovations
      by DirecTV? A: I don’t recall anything”); TX 198 (internal NFL slide deck stating
 23
      that there was as of 2018 “[n]o real product innovation over past 5 years.”); TX-401
      (internal March 2004 NFL slide deck discussing NFL Sunday Ticket on digital cable
 24
      and noting that “digital cable infrastructure in place” and that it could “grow[]
      potential universe from 13.5 million households to ~90 million households.”); TX-
 25
      504 at Apl-NFL_00000007 (Apple document discussing the “decline in the # [of
      Sunday Ticket subscribers] is a direct result of a crappy product and the decline of
 26
      pay TV.”).
      16
          See, e.g., Depos. of Steve Smith at 60:18-60:22 (Q: Well, Apple has no
 27
      understanding of what ‘crappy product’ refers to in this paragraph? A: It could be the
      crappy product of DIRECTV. And it could be the product—crappy product of the
 28
      NFL Sunday Ticket on DIRECTV.”); TX-504 at Apl-NFL_00000007 (Apple
      document discussing the “decline in the # [of Sunday Ticket subscribers] is a direct
      result of a crappy product and the decline of pay TV.”)
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  1   specified in TX272 that the Max package be $100 more than the basic package and
  2   be limited to about 15% of the total Sunday Ticket subscribers). Put another way, the
  3   NFL suppressed the one material innovation of DirecTV, whose exclusivity was
  4   widely accepted to be an obstacle to innovation. Later, the league took Red Zone and
  5   offered it widely itself, meaning that it was not even an exclusive innovation whose
  6   benefits flowed solely to the innovator. This is not evidence of the procompetitive
  7   benefits of exclusivity or any other aspect of the challenged conduct. It also occurred
  8   outside of the class period, and the evidence is undisputed that during the class
  9   period, DirecTV’s exclusivity was anything but a driver of innovation.
 10                 3.     The Defendants Have Not Met Their Burden of Showing
                           that the Availability of OTA Telecasts or “Matching” is a
 11                        Procompetitive Benefit
 12          The NFL offers a purported procompetitive justification that limiting
 13   viewership of out-of-market games through Sunday Ticket was needed to protect
 14   OTA telecasts, another issue on which Defendants bear the burden of proof. But that
 15   justification fails as a matter of law for three different reasons. First, it is inconsistent
 16   with the Sherman Act, for the exact same reasons that the Supreme Court rejected
 17   the NCAA’s purported procompetitive justification that the agreements by the
 18   colleges to limit television viewership embodied in the NCAA’s rules protected live
 19   attendance. Second, there is nothing about OTA telecasts that provides them special
 20   status over other means of distribution. They are beneficial in this context only if they
 21   increase overall viewership and access to programming that consumers want, and
 22   Defendants have offered no evidence to show that this scheme increases output in
 23   any sense relevant to the antitrust laws. Third, Defendants have not offered any
 24   competent evidence to show that the availability of games over the air would decrease
 25   in the but-for world. They have simply stated in the most conclusory manner that the
 26   amount paid for the rights for Sunday OTA broadcasts would decline, again and
 27   again, without a hint of economic analysis to actually support it. There was no
 28   testimony that those broadcasts would cease. That is because it would be implausible,

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  1   if not impossible, to believe the major networks would give up what is far and away
  2   their most popular television content that transforms Sunday afternoons into a prime-
  3   time-like audience. Even were the Sunday afternoon OTA broadcasts to lose as much
  4   as 30% of their viewership to out-of-market games (an unlikely scenario in light of
  5   the NFL’s repeated contention at trial that the overwhelming number of viewers want
  6   to watch the home games in their market) the viewership of Sunday afternoon games
  7   would not only far exceed any other Sunday afternoon programming content, but
  8   would exceed virtually all prime time content.
  9         In NCAA, the NCAA made a functionally identical argument when it argued
 10   that suppressing the output of live television was necessary to protect live attendance.
 11   Here, the NFL has simply swapped out-of-market games for live television and OTA
 12   broadcasts for live attendance. The Supreme Court rejected that argument as
 13   inconsistent with the Sherman Act because it was based on the premise that one
 14   product (live attendance) was insufficiently attractive to consumers to face the
 15   competitive pressure from another product (televised games):
 16         There is, however, a more fundamental reason for rejecting this defense.
            The NCAA’s argument that its television plan is necessary to protect
 17         live attendance is not based on a desire to maintain the integrity of
            college football as a distinct and attractive product, but rather on a fear
 18         that the product will not prove sufficiently attractive to draw live
            attendance when faced with competition from televised games. At
 19         bottom the NCAA’s position is that ticket sales for most college games
            are unable to compete in a free market. The television plan protects
 20         ticket sales by limiting output—just as any monopolist increases
            revenues by reducing output. By seeking to insulate live ticket sales
 21         from the full spectrum of competition because of its assumption that the
            product itself is insufficiently attractive to consumers, petitioner
 22         forwards a justification that is inconsistent with the basic policy of the
            Sherman Act. “[T]he Rule of Reason does not support a defense based
 23         on the assumption that competition itself is unreasonable.”
 24   468 U.S. 85, 116-17 (1984) (quoting NSPE, 435 U.S. at 696).
 25         One can simply swap out “live attendance” for “OTA viewership” and the
 26   analysis is exactly the same. The NFL’s argument is based on “a fear that the product
 27   will not prove sufficiently attractive to draw [OTA viewership] when faced with
 28   competition from [other] televised games. At bottom, the [NFL’s] position is that

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  1   [OTA telecasts] are unable to compete in a free market. … By seeking to insulate
  2   [OTA telecasts] from the full spectrum of competition because its assumption that
  3   the product itself is insufficiently attractive to consumers, [the NFL] forwards a
  4   justification that is inconsistent with the basic policy of the Sherman Act.” Id.
  5         In both cases, the argument is the same: that the defendants need to prevent
  6   consumers from watching the game they want to protect a particular avenue of
  7   product distribution from the “harm” of facing competition. “[T]he Rule of Reason
  8   does not support a defense based on the assumption that competition itself is
  9   unreasonable.” NSPE, 435 U.S. at 696.
 10         Second, the NFL’s position assumes that telecasts on OTA television are
 11   inherently favored under the antitrust laws, which is false. The availability of games
 12   over the air is relevant to the analysis only to the extent that it increases output or
 13   otherwise improves competitive outcomes for consumers. Yet the NFL has not made
 14   any effort to show that to be true. It is conceded that more people would watch
 15   games—viewership would go up—if additional games viewers wanted to watch were
 16   available. Defendants criticize the comparison to college football, for example, by
 17   suggesting that, unlike college football (for some unstated reasons), the NFL games
 18   would disappear from OTA channels. But even if that were true, it may not be
 19   accepted as a justification if “consumption will materially increase if the controls are
 20   removed.” NCAA, 468 U.S. at 119-20. Here, as the NFL’s own New Frontier study
 21   shows, the typical major college football game is available in far more households
 22   than the average NFL game, and that viewership would increase by 8.1% if games
 23   were broadcast on national cable networks. TX-686 at -271, -316. A free market
 24   increases output and lower prices, not the market manipulations of a monopolist.
 25         Finally, the Court should reject the proposed OTA procompetitive justification
 26   as a matter of law because there is no competent evidence that supports the view that
 27   there would have been fewer NFL games available on OTA networks during the class
 28   period. This is yet another issue on which the Defendants have done little more than

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  1   assert that some games might disappear from OTA networks. First of all, it
  2   contradicts the NFL’s repeated insistence that it has maintained a “bedrock”
  3   commitment to maintaining OTA coverage for over fifty years, and nothing would
  4   prevent them from continuing to prioritize OTA coverage.
  5         The networks, too, would still have an interest in carrying professional football
  6   telecasts in a world without the restraints. They have continued to carry major college
  7   football games on over the air networks notwithstanding the “cannibalization” of
  8   other college football games that has driven viewership levels far below what Dr.
  9   Bernheim hypothesizes “would likely compromise” NFL games on OTA television.
 10   No reasonable juror could conclude from the testimony at trial that fewer NFL game
 11   telecasts would have been available on OTA television in a competitive world than
 12   there were.
 13         Moreover, despite making this a central argument in their opening, Defendant
 14   have not introduced any evidence that OTA Sunday broadcasts would cease without
 15   the challenged evidence. The testimony at trial merely supports the view that the
 16   rights would be less valuable to CBS and Fox (and consequently to the NFL). No
 17   witness from CBS or Fox testified they would cease to broadcast games.
 18         For essentially the same reason, the Court should reject as a matter of law the
 19   NFL’s argument that “chaos” would result from the lack of league control of
 20   telecasting and scheduling. At bottom, this is simply another argument that
 21   competition is a problem. The presumption of the law is that free and open
 22   competition in a competitive market will best match the output of products to
 23   consumer demand. “A restraint that has the effect of reducing the importance of
 24   consumer preference in setting price and output is not consistent with this
 25   fundamental goal of antitrust law.” NCAA, 468 U.S. at 107. 17
 26   17
         Tr. 954:9-12 (Dr. Rascher: Q: You wouldn’t agree yesterday that college football
 27
      is a mess, but would you agree that college football is chaos? A: No. I don’t—I don’t
      know how—how—chaos is competition the way you’re describing it.”); see also Tr:
 28
      954:22-25 (Dr. Rascher: Q: So you don’t think it’s chaos? A: Well, if that’s chaos,
      people seem to want chaos. I mean, demand is up. Chaos is not really an economic
      term of art.”).
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            D.     No Reasonable Juror Could Accept Defendants’ Statute of
  1                Limitations and Laches Defenses.
  2         Defendants’ statute of limitations and laches affirmative defenses fail as a
  3   matter of law. First, Plaintiffs do not seek damages pre-dating the limitations period
  4   for the classes certified by the Court. “The governing statute, 15 U.S.C. § 15b, sets a
  5   four year statute of limitations on private antitrust actions.” Samsung Elecs. Co. v.
  6   Panasonic Corp., 747 F.3d 1199, 1202 (9th Cir. 2014). “But an exception to this time
  7   limit exists for continuing violations.” Id. “To state a continuing violation of the
  8   antitrust laws in the Ninth Circuit, a plaintiff must allege that a defendant completed
  9   an overt act during the limitations period that meets two criteria: 1) it must be a new
 10   and independent act that is not merely a reaffirmation of a previous act; and 2) it must
 11   inflect new and accumulating injury on the plaintiff.” Id. (quotation marks omitted).
 12         Courts throughout the country have consistently concluded “that continued
 13   overcharges constitute a continuing violation.” In re Glumetza Antitrust Litig., 611
 14   F. Supp. 3d 848, 861 (N.D. Cal. 2020) (collecting cases). As a result, “each new sale”
 15   of an overpriced product subject to an illegal antitrust conspiracy triggers the statute
 16   of limitations anew for that act. Id.; see also Oliver v. SD-3C, LLC, 751 F.3d 1081,
 17   1086 (9th Cir. 2014) (stating that numerous courts “have recognized that each time a
 18   defendant sells its price-fixed product, the sale constitutes a new overt act causing
 19   injury to the purchaser and the statute of limitations runs from the date of the act”);
 20   Mayor of Baltimore v. Actelion Pharms. Ltd., 995 F.3d 123, 132 (4th Cir. 2021)
 21   (“Virtually every court faced with similar allegations has held, citing the continuing-
 22   violation doctrine, that a new cause of action accrues to purchasers upon each
 23   overpriced sale of the drug.”) (quotation marks omitted); In re Cotton Yarn Antitrust
 24   Litig., 505 F.3d 274, 291 (4th Cir. 2007) (holding that “each sale to the plaintiff[]
 25   starts the statutory period running again”). Thus, a continuing violation occurred
 26   every time Plaintiffs paid for the Sunday Ticket product.
 27         Moreover, a continuing violation can occur each time Defendants enter into
 28   new agreements that renew elements of the alleged conspiracy. See Samsung, 747

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  1   F.3d 1199, 1203-04 (holding that creation of a second license was a new and
  2   independent act restarting the statute of limitations for a claim that the original license
  3   was anticompetitive); Klein v. Facebook, Inc., 580 F. Supp. 3d 743, 797 (N.D. Cal.
  4   2022) (“Facebook’s argument ignores the Ninth Circuit’s clear guidance that, if a
  5   defendant commits the same anticompetitive act multiple times, each new act restarts
  6   the statute of limitations for all the acts.”) (emphasis in original). Therefore, each
  7   time the NFL Defendants entered into a new agreement with CBS, Fox, or
  8   DIRECTV, a continuing violation occurs that covers all of the challenged restraints.
  9         No reasonable juror could accept Defendants’ statute of limitations defense
 10   because the undisputed record evidence shows that Plaintiffs purchased a Sunday
 11   Ticket package one or more times within the limitations period. Each sale of Sunday
 12   Ticket constituted a continuing violation. There is also no dispute that the NFL
 13   entered into media rights agreements impacting Sunday Ticket with CBS, Fox, or
 14   DirecTV within the limitations period, and each new agreement constituted a
 15   continuing violation.
 16         The NFL Defendants’ second affirmative defense—laches—fails for the same
 17   reasons. In applying laches in an antitrust case, the Ninth Circuit has instructed that
 18   the same rules that animate the Sherman Act’s statute of limitations—including the
 19   continuing violation doctrine—are applicable. Oliver, 751 F.3d at 1086. If a
 20   plaintiff’s claims are timely under those principles, the “strong presumption is that
 21   laches is inapplicable.” Klein, 580 F. Supp. 3d at 805 (quotation marks omitted).
 22         Because there is no dispute that Plaintiffs purchased Sunday Ticket during the
 23   limitations period and that Defendants entered into new agreements with CBS, Fox,
 24   or DirecTV during the limitations period, no reasonable juror could accept their
 25   laches defense.
 26   ///
 27   ///
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